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  7
  8                       UNITED STATES DISTRICT COURT

  9                       CENTRAL DISTRICT OF CALIFORNIA

 10
 11 ANA VENTURA,                                    Case No.: 2:23-cv-10521 JAK (ASx)

 12                                                 NOTICE OF SETTLEMENT OF
                   Plaintiff,                       ENTIRE CASE
 13
            vs.
 14
 15 DRICAL CLEANERS LLC; HELEN
    RAE CHOI; and DOES 1 to 10,
 16
 17           Defendants.

 18
            Notice is hereby given that Plaintiff ANA VENTURA ("Plaintiff") and
 19
      Defendants have settled the above-captioned matter as to the entire case. Parties
 20
      request that the Court grant thirty (30) days from the date of this filing for Plaintiff
 21
      to file dispositional documents in order to afford Parties time to complete settlement.
 22
 23    DATED: February 13, 2024                     SO. CAL EQUAL ACCESS GROUP
 24
                                                          /s/ Jason J. Kim
 25                                                 JASON J. KIM
                                                    Attorney for Plaintiff
 26
 27
 28

                                                           NOTICE OF SETTLEMENT OF ENTIRE CASE
